                Case 2:13-cr-00066-LRS                     ECF No. 210               filed 07/28/14       PageID.1096 Page 1 of 6
 2$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW5HYLVHGE\:$('

                                                                                                                                            FILED IN THE

                                              81,7('67$7(6',675,&7&2857                                                              U.S. DISTRICT COURT
                                                                                                                                  EASTERN DISTRICT OF WASHINGTON


                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ                                                 Jul 28, 2014
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE                              SEAN F. MCAVOY, CLERK

                      V.
                                                                              &DVH1XPEHU           2:13CR00066-LRS-1
                         Tam Quang Do
                                                                              8601XPEHU            11864-085
                a/k/a "Tom", "Kevin" "Tony"
                                                                                     Chris A Bugbee
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 G SOHDGHGJXLOW\WRFRXQW V
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 ✔ZDVIRXQGJXLOW\RQFRXQW V
 G                                          1-16 of the Superseding Indictment
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                    Nature of Offense                                                                         Offense Ended        Count
18 U.S.C. § 1349                  Conspiracy to Commit Wire Fraud                                                                04/26/13             1s
18 U.S.C. § 1343                  Wire Fraud                                                                                     04/26/13            2-6s
18 U.S.C. § 1028A                 Aggravated Identity Theft                                                                      04/26/13            7-12s
49 U.S.C. § 32703(2)              Odometer Fraud                                                                                 04/26/13            13-16s
   and 32709(b)
        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        6       RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                all remaining                             G LV        ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               7/22/2014
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                                QR
                                                                                  -XGJPHQW
                                                                                 RI
                                                                                 R        QW
                                                                                           QW




                                                             6LJQDWXUHRI-XGJHH




                                                             The Honorable Lonny R. Suko                         Senior Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                7/28/14
                                                             'DWH
                                                             
                Case 2:13-cr-00066-LRS                   ECF No. 210         filed 07/28/14          PageID.1097 Page 2 of 6
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              6KHHW²,PSULVRQPHQW

                                                                                                           -XGJPHQW²3DJH   2   RI   6
'()(1'$17 Tam Quang Do
&$6(180%(5 2:13CR00066-LRS-1


                                                                IMPRISONMENT

        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI    68 months as indicated below; credit time served.
      Count 1s - 20 months;
      Counts 2s-6s - 20 months on each count, concurrent with Count 1 and each other;
      Counts 7s-8s - 24 months on each count, consecutive to Counts 1-6 and 13-16, and consecutive to one another but concurrent with
                  Counts 9-12;
      Counts 9s-12s, 24 months per count, consecutive to Counts 1-6 and 13-16, but concurrent with each other;
      Counts 13s-16s, 20 months on each count, concurrent with Count 1and each other.

      ✔
      7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
             SODFHPHQWDW%23IDFLOLW\QHDU6KHULGDQ2UHJRQ


  G✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G     DW                                     G DP     G SP         RQ                                          

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G     EHIRUHSPRQ                                             

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                      RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                             WR

DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                                                                                                     '(387<81,7('67$7(60$56+$/
               Case 2:13-cr-00066-LRS                    ECF No. 210        filed 07/28/14        PageID.1098 Page 3 of 6
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                           -XGJPHQW²3DJH
                                                                                                                              3     RI
                                                                                                                                               6
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                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI

 3 years on Counts 1 through 6; 1 year on Counts 7 through 16, all to run concurrently.

        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G
✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G

G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
  DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                    FRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
          FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG

        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
            Case 2:13-cr-00066-LRS                    ECF No. 210      filed 07/28/14         PageID.1099 Page 4 of 6
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²6XSHUYLVHG5HOHDVH
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                                         SPECIAL CONDITIONS OF SUPERVISION
 14) You shall provide the supervising officer with access to any requested financial information, including authorization to conduct
 credit checks and obtain copies of your Federal income tax returns. You shall disclose all assets and liabilities to the supervising
 officer. You shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.

 15) You shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.

 16) You shall not obtain any form of identification, including a driver’s license or state identification card, social security number, birth
 certificate, credit card, or passport, in the name of any other person. Further, you shall use no other name, other than your true, legal
 name.

 17) You shall submit your person, residence, office, or vehicle to a search, conducted by a U.S. probation officer, at a sensible time and
 manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
 search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be subject to
 search.

 18) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare. You
 shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treatment provider.

 19) You shall have no contact with the victims in person, by letter or other communication devices, audio or visual devices, or through
 a third party, unless authorized by the supervising officer. You shall not enter the premises or loiter within 1,000 feet of the victims’
 residence or place of employment.
             Case 2:13-cr-00066-LRS                    ECF No. 210      filed 07/28/14         PageID.1100 Page 5 of 6
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      5      RI         6
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                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                     Fine                                 Restitution
TOTALS                $1,600.00                                      $0.00                                TBD


✔ 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO
G                                                                $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
                                                          9/3/2014
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                         Total Loss*         Restitution Ordered        Priority or Percentage




TOTALS                                                      0.00                                0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
             Case 2:13-cr-00066-LRS                     ECF No. 210         filed 07/28/14      PageID.1101 Page 6 of 6
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           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     6      RI       6
'()(1'$17 Tam Quang Do
&$6(180%(5 2:13CR00066-LRS-1

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G    /XPSVXPSD\PHQWRI                             GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                   RU
          G      LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                      G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C    G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                       HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than 10% of the defendant's net
     household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
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7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G    -RLQWDQG6HYHUDO

     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
      1993 Honda Accord, VIN# JHMCB7555PC040447; 2002 Ford Taurus, VIN# 1FAFP55U82G232151, $6,583 U.S. currency seized
      by the U.S. Secret Service pursuant to a federal search warrant, on or about April 26, 2013, from the residence of Defendant.

3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
